18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 1 of 28
18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 2 of 28
18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 3 of 28
18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 4 of 28
18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 5 of 28
18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 6 of 28
18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 7 of 28
18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 8 of 28
18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 9 of 28
18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 10 of 28
18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 11 of 28
18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 12 of 28
18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 13 of 28
18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 14 of 28
18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 15 of 28
18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 16 of 28
18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 17 of 28
18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 18 of 28
18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 19 of 28
18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 20 of 28
18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 21 of 28
18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 22 of 28
18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 23 of 28
18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 24 of 28
18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 25 of 28
18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 26 of 28
18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 27 of 28
18-04097-KMS Dkt 12-1 Filed 10/30/18 Entered 10/30/18 12:37:16 Page 28 of 28
